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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                       §
                                                    §
         Plaintiffs,                                §
                                                    §
 v.                                                 §    Civil Action No. 4:22-cv-00691-O
                                                    §
 BLACKHAWK MANUFACTURING                            §
 GROUP INC., et al.,                                §
                                                    §
         Intervenor Plaintiffs,                     §
                                                    §
 v.                                                 §
                                                    §
 MERRICK GARLAND, et al.                            §
                                                    §
         Defendants.                                §

                                    STATUS REPORT ORDER

        The United States Court of Appeals for the Fifth Circuit handed down its decision on the

Summary and Final Judgment in this case. See VanDerStok v. Garland, 86 F.4th 179 (5th Cir.

2023). In light of that decision, the Court ordered the parties to meet and confer and provide a joint

report regarding the status of this case and how the parties intend to proceed. See Status Report

Order, ECF No. 273. The parties accordingly filed their joint report on December 4, 2023. See

Joint Status Report, ECF No. 274.

        Having reviewed the joint report and applicable law, the Court ORDERS Defendants to

file a status report notifying the Court if and when they file a petition for writ of certiorari (or seek

any other form of review) with the Supreme Court of the United States on this case, or when the

time for seeking any such review has expired, whichever occurs first.

        SO ORDERED on this 5th day of January, 2024.


                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
